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                                          UNITED STATES BANKRUPTCY COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                 Los Angeles DIVISION

       In re: GARDENA BUSINESS GROUP LLC                     §      Case No. 2:20-bk-14348-BB
                                                             §
                                                             §
                                                             §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




               John J. Menchaca, chapter 7 trustee, submits this Final Account, Certification that the Estate has
      been Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $0.00                                   Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:   $1,229,142.36            Claims Discharged
                                                                   Without Payment: N/A


      Total Expenses of Administration:    $275,692.16




                3) Total gross receipts of $1,504,834.52 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $0.00 (see Exhibit 2), yielded net receipts of $1,504,834.52 from the liquidation of the property of the
      estate, which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                  $1,678,371.00        $1,119,954.34        $1,224,083.31         $1,224,083.31
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00          $288,670.77          $288,670.77          $275,692.16


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                    $0.00            $3,455.52            $3,455.52             $3,455.52

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                               $27,000.00            $1,603.53            $1,603.53             $1,603.53


   TOTAL DISBURSEMENTS                         $1,705,371.00        $1,413,684.16        $1,517,813.13         $1,504,834.52




                 4) This case was originally filed under chapter 7 on 05/11/2020. The case was pending for 18
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        10/26/2021                        By: /s/ John J. Menchaca
                                                                          Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                 $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1              RECEIVED

 RESIDENCE, BUILDING, LAND                                                                      1110-000               $1,504,759.52

 TURNOVER OF FUNDS                                                                              1229-000                      $75.00

                             TOTAL GROSS RECEIPTS                                                                      $1,504,834.52

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM        $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE         PAID

                                                                          None




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EXHIBIT 3 - SECURED CLAIMS



                                        UNIFORM        CLAIMS
   Claim                                                               CLAIMS          CLAIMS             CLAIMS
             CLAIMANT                    TRAN.       SCHEDULED
    NO.                                                               ASSERTED        ALLOWED              PAID
                                         CODE      (from Form 6D)


             California TD Specialist   4110-000                NA     $285,396.46     $285,396.46     $285,396.46
             FBO OmYermo LLC
             City of San Bernardino     4800-000                NA      $85,000.00      $85,000.00      $85,000.00

             County of San              4700-070                NA       $1,650.00       $1,650.00       $1,650.00
             Bernardino County
             San Bernardino County      4700-070                NA      $15,724.31      $15,724.31      $15,724.31
             Tax Collectior
             San Bernardino County      4700-070                NA      $13,787.51      $13,787.51      $13,787.51
             Tax Collector
     2       Union Home Loan, Inc.      4110-000       $800,000.00     $718,396.06     $822,525.03     $822,525.03

    N/F      Built Construction         4110-000       $628,371.00              NA              NA              NA

    N/F      Investment Property        4110-000             $0.00              NA              NA              NA
             Exchange
    N/F      OM Yermo, LLC              4110-000       $250,000.00              NA              NA              NA

               TOTAL SECURED                          $1,678,371.00   $1,119,954.34   $1,224,083.31   $1,224,083.31




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM      CLAIMS         CLAIMS         CLAIMS          CLAIMS
   PAYEE                                 TRAN.     SCHEDULED       ASSERTED       ALLOWED           PAID
                                         CODE

 Trustee, Fees - John J. Menchaca       2100-000            NA       $68,250.00    $68,250.00     $63,329.67

 Trustee, Expenses - JOHN J.            2200-000            NA        $5,102.40     $5,102.40      $4,734.55
 MENCHACA
 Accountant for Trustee, Fees -         3310-000            NA        $6,854.00     $6,854.00      $6,359.88
 MENCHACA & COMPANY LLP
 Accountant for Trustee, Expenses -     3320-000            NA            $9.45         $9.45            $8.77
 MENCHACA & COMPANY LLP
 Fees, United States Trustee            2950-000            NA         $650.00       $650.00           $650.00

 Bond Payments - BOND                   2300-000            NA         $226.19       $226.19           $226.19

 Insurance - Trustee Resource           2420-750            NA        $7,059.23     $7,059.23      $7,059.23
 Group
 Costs re Sale of Property - BETTER     2500-000            NA        $1,099.00     $1,099.00      $1,099.00
 ESCROW SERVICES
 Costs re Sale of Property - Better     2500-000            NA        $3,968.51     $3,968.51      $3,968.51
 Escrow Services
 Costs re Sale of Property - Fidelity   2500-000            NA        $3,490.98     $3,490.98      $3,490.98
 National Title
 Banking and Technology Service         2600-000            NA        $1,350.32     $1,350.32      $1,350.32
 Fee - Metropolitan Commercial
 Bank
 Other State or Local Taxes (post-      2820-000            NA         $800.00       $800.00           $800.00
 petition) - FRANCHISE TAX
 BOARD (ADMINISTRATIVE)
 Attorney for Trustee Fees (Other       3210-000            NA       $98,685.50    $98,685.50     $91,570.99
 Firm) - LAW OFFICES OF WESLEY
 H. AVERY, APC
 Attorney for Trustee Expenses          3220-000            NA        $1,125.19     $1,125.19      $1,044.07
 (Other Firm) - LAW OFFICES OF
 WESLEY H. AVERY, APC
 Realtor for Trustee Fees (Real         3510-000            NA       $60,000.00    $60,000.00     $60,000.00
 Estate Commissions) - KW
 Commercial
 Other Professional Fees - KW           3991-000            NA       $30,000.00    $30,000.00     $30,000.00
 Commercial DTLA
 TOTAL CHAPTER 7 ADMIN. FEES
                                                            NA      $288,670.77   $288,670.77    $275,692.16
        AND CHARGES




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EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                            UNIFORM         CLAIMS              CLAIMS              CLAIMS               CLAIMS
          PAYEE
                           TRAN. CODE     SCHEDULED            ASSERTED            ALLOWED                PAID

                                                       None




 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                     CLAIMS
                                   UNIFORM        CLAIMS
                                                                    ASSERTED             CLAIMS              CLAIMS
 CLAIM NO.        CLAIMANT          TRAN.      SCHEDULED
                                                                 (from Proofs of        ALLOWED               PAID
                                    CODE      (from Form 6E)
                                                                      Claim)

     1P      FRANCHISE TAX         5800-000               NA              $3,455.52          $3,455.52        $3,455.52
             BOARD

           TOTAL PRIORITY
          UNSECURED CLAIMS                              $0.00             $3,455.52          $3,455.52        $3,455.52




 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                     CLAIMS
                                   UNIFORM        CLAIMS
                                                                    ASSERTED             CLAIMS              CLAIMS
 CLAIM NO.        CLAIMANT          TRAN.      SCHEDULED
                                                                 (from Proofs of        ALLOWED               PAID
                                    CODE      (from Form 6F)
                                                                      Claim)

     1U      FRANCHISE TAX         7100-000               NA              $1,603.53          $1,603.53        $1,603.53
             BOARD

     3       JOHN A. VOS           7200-000               NA                 $0.00              $0.00             $0.00


    N/F      Law Offices of Ben    7100-000        $27,000.00                   NA                 NA               NA
             Eilenberg

             TOTAL GENERAL
            UNSECURED CLAIMS                       $27,000.00             $1,603.53          $1,603.53        $1,603.53




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                                                              Form 1
                                                                                                                                                     Exhibit 8
                                          Individual Estate Property Record and Report                                                               Page: 1

                                                           Asset Cases
Case No.:    2:20-bk-14348-BB                                                               Trustee Name:      (007950) John J. Menchaca
Case Name:        GARDENA BUSINESS GROUP LLC                                                Date Filed (f) or Converted (c): 05/11/2020 (f)
                                                                                            § 341(a) Meeting Date:       06/22/2020
For Period Ending:        10/26/2021                                                        Claims Bar Date:      08/17/2020

                                     1                                2                    3                      4                   5                   6

                           Asset Description                       Petition/       Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)         Unscheduled      (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                    Values               Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                 Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                            and Other Costs)

    1       RESIDENCE, BUILDING, LAND                            1,000,000.00                       0.00                        1,504,759.52                           FA
            660 N. E Street, San Bernardino, CA 92410

    2       OTHER CONTINGENT AND                                     Unknown                        0.00                                   0.00                        FA
            UNLIQUIDATED CLAIMS
            Gardena Business Group v. Om Yermo, San
            Bernardino Superior Court, Case#CiVDS2000029,
            Unlawful Foreclosure, Breach of Contract. Amount
            Requested: $0.00

    3       TURNOVER OF FUNDS (u)                                         0.00                     75.00                                  75.00                        FA

    3       Assets Totals (Excluding unknown values)            $1,000,000.00                    $75.00                        $1,504,834.52                     $0.00




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                                                                                                                                   Exhibit 8
                                   Individual Estate Property Record and Report                                                    Page: 2

                                                    Asset Cases
Case No.:   2:20-bk-14348-BB                                                  Trustee Name:      (007950) John J. Menchaca
Case Name:      GARDENA BUSINESS GROUP LLC                                    Date Filed (f) or Converted (c): 05/11/2020 (f)
                                                                              § 341(a) Meeting Date:    06/22/2020
For Period Ending:    10/26/2021                                              Claims Bar Date:     08/17/2020


 Major Activities Affecting Case Closing:

                           Reporting Period April 1, 2021 - March 30, 2022

                           Order On Final Fee Applications Allowing Payment Of: (1) Court And U.S. Trustee Fees; And (2) Final Fees
                           And Expenses Of Trustee And Professionals[LBR 2016-1(C)(4)] (BNC-PDF) Signed on 7/28/2021.
                           (Pennington-Jones, Patricia) (Entered: 07/28/2021)

                           Chapter 7 Trustee's Final Report, Application for Compensation and Application(s) for Compensation of
                           Professionals filed on behalf of Trustee John J. Menchaca. The United States Trustee has reviewed the
                           Chapter 7 Trustee's Final Report. Filed by United States Trustee. (united states trustee (pca)) (Entered:
                           06/17/2021)

                           Notice of Trustee's Final Report and Applications for Compensation (BNC-PDF) Filed by United States
                           Trustee (RE: related document(s)161). (united states trustee (pca)) (Entered: 06/17/2021)

                           Reporting Period April 1, 2020 - March 30, 2021

                           [Dkt No. 50] Motion For Sale of Property of the Estate under Section363(b).

                           [Dkt No. 65] Order Granting Trustee's Motion For Sale of Property under Section 363(b) re: property located
                           at 660 N. E Street, San Bernardino, CA 92410.

                           PROFESSIONALS:

                           [Dkt No. 38] Order Granting Application to Employ KW Commercial as Real Estate Brokers.

                           [Dkt No. 39] Order Granting Application to Employ Law Offices of Wesley H. Avery as Counsel.

                           [Dkt No. 69] Order Granting Application to Employ Menchaca &Company, LLP as Accountant.

                           PROOF OF CLAIMS:

                           [Dkt No. 8] Notice of Assets filed by trustee and court's notice of possible dividend (BNC) Filed by Trustee
                           John J Menchaca (TR).Proofs of Claims due by 8/17/2020. Government Proof of Claim due by 11/9/2020.

                           ESTATE'S TAX RETURNS:

                           The Estate's tax return were prepared and filed with the IRS and FTB.

                           CLOSING:

                           [Dkt No. 148] Notice to Pay Court Costs Due Sent To: John Menchaca,Chapter 7 Trustee, Total Amount Due
                           $0 . (Jackson, WendyAnn) (Entered: 01/22/2021)

                           [Dkt No. 157] Notice to professionals to file application for compensation (Amended) With Proof of Service.
                           Filed by Trustee John JMenchaca (TR). (Menchaca (TR), John) (Entered: 03/02/2021)

 Initial Projected Date Of Final Report (TFR): 04/22/2021            Current Projected Date Of Final Report (TFR):    04/22/2021 (Actual)




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                                                                 Form 2                                                                                 Exhibit 9
                                                                                                                                                        Page: 1
                                                 Cash Receipts And Disbursements Record
Case No.:              2:20-bk-14348-BB                                   Trustee Name:                        John J. Menchaca (007950)
Case Name:             GARDENA BUSINESS GROUP LLC                         Bank Name:                           Metropolitan Commercial Bank
Taxpayer ID #:         **-***0299                                         Account #:                           ******5223 Checking
For Period Ending:     10/26/2021                                         Blanket Bond (per case limit):       $5,000,000.00
                                                                          Separate Bond (if applicable):       N/A

    1            2                       3                                          4                                 5                    6                        7

  Trans.    Check or        Paid To / Received From          Description of Transaction            Uniform       Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                               Tran. Code       $                       $

 07/12/20     {3}      WELLS FARGO BANK                  Turnover of funds - Acct ending in       1229-000                25.00                                         25.00
                                                         0950
 07/12/20     {3}      WELLS FARGO BANK                  Turnover of funds - Acct ending in       1229-000                25.00                                         50.00
                                                         1057
 07/12/20     {3}      WELLS FARGO BANK                  Turnover of funds - Acct ending in       1229-000                25.00                                         75.00
                                                         5110
 11/06/20              BETTER ESCROW SERVICES            [Dkt No. 65] Per Order Entered                              175,058.49                                     175,133.49
                                                         8/11/2020 Order Granting
                                                         Trustee's Motion For Sale of
                                                         Property under Section 363(b) re:
                                                         property located at 660 N. E
                                                         Street, San Bernardino, CA 92410
              {1}                                        Total Consideration                      1110-000
                                                                               $1,500,000.00
              {1}                                        County Taxes                             1110-000
                                                                                    $4,759.52
                       California TD Specialist FBO      Payoff Charges                           4110-000
                       OmYermo LLC
                                                                                -$285,396.46
                       Union Home Loan, Inc.             Payoff Charges                           4110-000
                                                                                -$822,525.03
                       City of San Bernardino            Payoff Charges                           4800-000
                                                                                   -$85,000.00
                       KW Commercial                     Seller's broker - Commission             3510-000
                                                                                   -$60,000.00
                       KW Commercial DTLA                Buyer's Broker - Commission              3991-000
                                                                                   -$30,000.00
                       Fidelity National Title           Title/Recording Charges                  2500-000
                                                                                    -$3,490.98
                       County of San Bernardino County   Transfer Tax                             4700-070
                                                                                    -$1,650.00
                       San Bernardino County Tax         Delinquent Taxes                         4700-070
                       Collectior
                                                                                   -$15,724.31
                       San Bernardino County Tax         1st Half 2020/2021                       4700-070
                       Collector
                                                                                   -$13,787.51
                       Better Escrow Services            Escrow Charges                           2500-000
                                                                                    -$3,968.51
                       Trustee Resource Group            Property Insurance                       2420-750
                                                                                    -$7,059.23
                                                         Property I.D. for Disclosure Report      2500-000
                                                         #******4101
                                                                                        -$99.00
                                                         Hold for Updating Title                  2500-000
                                                         Endorsement Hold
                                                                                    -$1,000.00
 11/30/20              Metropolitan Commercial Bank      Bank and Technology Services             2600-000                                     205.27               174,928.22
                                                         Fees


                                                                                             Page Subtotals:    $175,133.49                $205.27


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
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                                                                                                                                                     Page: 2
                                             Cash Receipts And Disbursements Record
Case No.:              2:20-bk-14348-BB                               Trustee Name:                        John J. Menchaca (007950)
Case Name:             GARDENA BUSINESS GROUP LLC                     Bank Name:                           Metropolitan Commercial Bank
Taxpayer ID #:         **-***0299                                     Account #:                           ******5223 Checking
For Period Ending:     10/26/2021                                     Blanket Bond (per case limit):       $5,000,000.00
                                                                      Separate Bond (if applicable):       N/A

    1            2                    3                                       4                                  5                    6                          7

  Trans.    Check or       Paid To / Received From        Description of Transaction         Uniform         Deposit            Disbursement           Account Balance
   Date      Ref. #                                                                         Tran. Code         $                      $

 12/31/20              Metropolitan Commercial Bank   Bank and Technology Services           2600-000                                      307.57                174,620.65
                                                      Fees
 01/19/21     101      INTERNATIONAL SURETIES         Bond #016229730 Term                   2300-000                                      226.19                174,394.46
                                                      01/04/2021-04/04/2022
 01/29/21              Metropolitan Commercial Bank   Bank and Technology Services           2600-000                                      270.49                174,123.97
                                                      Fees
 02/26/21              Metropolitan Commercial Bank   Bank and Technology Services           2600-000                                      260.47                173,863.50
                                                      Fees
 03/31/21              Metropolitan Commercial Bank   Bank and Technology Services           2600-000                                      306.52                173,556.98
                                                      Fees
 07/28/21     102      OFFICE OF THE UNITED           [Dkt No. 164] Per Order 7/8/2021       2950-000                                      650.00                172,906.98
                       STATES TRUSTEE                 Distribution payment - Dividend
                                                      paid at 100.00% of $650.00; Claim
                                                      # ; Filed: $650.00
 07/28/21     103      FRANCHISE TAX BOARD            [Dkt No. 164] Per Order 7/8/2021       5800-000                                     3,455.52               169,451.46
                                                      Distribution payment - Dividend
                                                      paid at 100.00% of $3,455.52;
                                                      Claim # 1P; Filed: $3,455.52
 07/28/21     104      FRANCHISE TAX BOARD            [Dkt No. 164] Per Order 7/8/2021       7100-000                                     1,603.53               167,847.93
                                                      Distribution payment - Dividend
                                                      paid at 100.00% of $1,603.53;
                                                      Claim # 1U; Filed: $1,603.53
 07/28/21     105      FRANCHISE TAX BOARD            [Dkt No. 164] Per Order 7/8/2021       2820-000                                      800.00                167,047.93
                       (ADMINISTRATIVE)               Distribution payment - Dividend
                                                      paid at 100.00% of $800.00; Claim
                                                      # 4; Filed: $800.00
 07/28/21     106      John J. Menchaca               [Dkt No. 164] Per Order 7/8/2021       2100-000                                 63,329.67                  103,718.26
                                                      Distribution payment - Dividend
                                                      paid at 92.79% of $68,250.00;
                                                      Claim # FEE; Filed: $68,250.00
 07/28/21     107      MENCHACA & COMPANY LLP         [Dkt No. 164] Per Order 7/8/2021       3310-000                                     6,359.88                   97,358.38
                                                      Distribution payment - Dividend
                                                      paid at 92.79% of $6,854.00;
                                                      Claim # ; Filed: $6,854.00
 07/28/21     108      JOHN J. MENCHACA               [Dkt No. 164] Per Order 7/8/2021       2200-000                                     4,734.55                   92,623.83
                                                      Distribution payment - Dividend
                                                      paid at 92.79% of $5,102.40;
                                                      Claim # ; Filed: $5,102.40
 07/28/21     109      LAW OFFICES OF WESLEY H.       [Dkt No. 164] Per Order 7/8/2021       3210-000                                 91,570.99                       1,052.84
                       AVERY, APC                     Distribution payment - Dividend
                                                      paid at 92.79% of $98,685.50;
                                                      Claim # ; Filed: $98,685.50
 07/28/21     110      MENCHACA & COMPANY LLP         [Dkt No. 164] Per Order 7/8/2021       3320-000                                         8.77                    1,044.07
                                                      Distribution payment - Dividend
                                                      paid at 92.80% of $9.45; Claim # ;
                                                      Filed: $9.45
 07/28/21     111      LAW OFFICES OF WESLEY H.       [Dkt No. 164] Per Order 7/8/2021       3220-000                                     1,044.07                        0.00
                       AVERY, APC                     Distribution payment - Dividend
                                                      paid at 92.79% of $1,125.19;
                                                      Claim # ; Filed: $1,125.19
                                                      Stopped on 10/13/2021
 10/13/21     111      LAW OFFICES OF WESLEY H.       [Dkt No. 164] Per Order 7/8/2021       3220-000                                 -1,044.07                       1,044.07
                       AVERY, APC                     Distribution payment - Dividend
                                                      paid at 92.79% of $1,125.19;
                                                      Claim # ; Filed: $1,125.19
                                                      Stopped: check issued on
                                                      07/28/2021
 10/21/21     112      LAW OFFICES OF WESLEY H.       [Dkt No. 164] Per Order 7/8/2021       3220-000                                     1,044.07                        0.00
                       AVERY, APC                     Distribution payment - Dividend
                                                      paid at 92.79% of $1,125.19;
                                                      Claim # ; Filed: $1,125.19



                                                                                         Page Subtotals:             $0.00        $174,928.22


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                ! - transaction has not been cleared
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                                                              Form 2                                                                             Exhibit 9
                                                                                                                                                 Page: 3
                                              Cash Receipts And Disbursements Record
Case No.:              2:20-bk-14348-BB                                Trustee Name:                    John J. Menchaca (007950)
Case Name:             GARDENA BUSINESS GROUP LLC                      Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:         **-***0299                                      Account #:                       ******5223 Checking
For Period Ending:     10/26/2021                                      Blanket Bond (per case limit):   $5,000,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                     6                        7

  Trans.    Check or       Paid To / Received From         Description of Transaction      Uniform        Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                       Tran. Code        $                       $


                                         COLUMN TOTALS                                                        175,133.49           175,133.49                    $0.00
                                                Less: Bank Transfers/CDs                                            0.00                  0.00
                                         Subtotal                                                             175,133.49           175,133.49
                                                Less: Payments to Debtors                                                                 0.00

                                         NET Receipts / Disbursements                                      $175,133.49            $175,133.49




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                              ! - transaction has not been cleared
             Case 2:20-bk-14348-BB                     Doc 166 Filed 11/22/21 Entered 11/22/21 16:38:22                           Desc
                                                        Main Document    Page 12 of 12
                                                       Form 2                                                                   Exhibit 9
                                                                                                                                Page: 4
                                       Cash Receipts And Disbursements Record
Case No.:           2:20-bk-14348-BB                           Trustee Name:                   John J. Menchaca (007950)
Case Name:          GARDENA BUSINESS GROUP LLC                 Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:      **-***0299                                 Account #:                      ******5223 Checking
For Period Ending: 10/26/2021                                  Blanket Bond (per case limit): $5,000,000.00
                                                               Separate Bond (if applicable): N/A

                                       Net Receipts:           $175,133.49
                           Plus Gross Adjustments:            $1,324,941.51
                         Less Payments to Debtor:                     $0.00
                 Less Other Noncompensable Items:                     $0.00

                                         Net Estate:          $1,500,075.00




                                                                                                  NET                      ACCOUNT
                                 TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS                 BALANCES
                                 ******5223 Checking                             $175,133.49        $175,133.49                    $0.00

                                                                                 $175,133.49             $175,133.49                $0.00




UST Form 101-7-TDR (10 /1/2010)
